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        EXHIBIT B
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UNITED STATES DISTRICT COURT                                                   ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK                                                  DOC #:
                                                                               DATE FILED: 3/23/2022
 JULIAN KAHLON,

                                 Plaintiff,                                  20-cv-3774 (MKV)

                        -against-                                         OPINION & ORDER
                                                                       ON CROSS-MOTIONS FOR
 PROJECT VERTE INC.,                                                    SUMMARY JUDGMENT

                                 Defendant.

MARY KAY VYSKOCIL, United States District Judge:

         Before the Court are Defendant’s motion for summary judgment on all of Plaintiff’s claims

[ECF No. 80], Plaintiff’s motion for summary judgment on Defendant’s counterclaim [ECF No.

86], and a motion to seal certain documents filed in connection with those motions [ECF Nos. 77,

78, 79]. For the reasons set forth below, Defendant’s motion for summary judgment is DENIED

IN PART and GRANTED IN PART. Plaintiff’s motion for summary judgment is DENIED. The

motion to seal is DENIED.

                                              I.      BACKGROUND 1

    A. Background Facts

         Defendant Project Verte, Inc. is a technology start-up that helps retailers “expand their sales

channels and streamline their fulfillment operations.” Def. 56.1¶ 1; Pl. Counter 56.1 ¶ 1. Plaintiff

Julian Kahlon (“Kahlon”) is the former Chief Executive Officer (“CEO”) of Project Verte. See

Def. 56.1¶¶ 16, 47; Pl. Counter 56.1 ¶¶ 16, 45; Pl. 56.1 ¶¶ 4, 7; Def. Counter 56.1 ¶¶ 4, 7. Kahlon

owned a company called TNJ Holdings, Inc. that was one of the initial investors in Project Verte.



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  The facts are taken from the parties’ Local Civil Rule 56.1 statements [ECF Nos. 82 (“Def. 56.1”), 91 (“Pl. 56.1”),
96 (“Def. Counter 56.1”), 100 (“Pl. Counter 56.1”)], the affidavits and declarations submitted in connection with this
motion, and the exhibits attached thereto [ECF Nos. 83, 85, 88, 90, 93, 94, 95, 105]. Unless otherwise noted, where
only one party’s 56.1 statement is cited, the other party does not dispute the fact asserted, has offered no admissible
evidence to refute that fact, or merely disagrees with the inferences to be drawn from that fact.

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See Def. 56.1 ¶¶ 2, 4; Pl. Counter 56.1 ¶¶ 2, 4. The other initial investors were non-parties Amir

Chaluts, Jane Gol, and various entities they controlled, collectively referred to as the AJ Group.

See Def. 56.1 ¶¶ 2, 3, 5, 6; Pl. Counter 56.1 ¶¶ 2, 3, 5, 6. Julian Kahlon’s father, Jossef Kahlon,

was also involved in Project Verte through TNJ. See Def. 56.1¶ 21; Pl. Counter 56.1 ¶¶ 4, 11.

       The initial investors entered into various agreements to fund Project Verte and to appoint

the members of its board of directors. See Def. 56.1 ¶¶ 2, 3, 5, 6, 7, 8; Pl. Counter 56.1 ¶¶ 2, 3, 5,

6, 7, 8. In particular, the initial investors entered into “Line of Credit Agreements” that were set

to expire at the end of December 2019. Def. 56.1 ¶¶ 8, 9; Pl. Counter 56.1 ¶¶ 8, 9. The parties

disagree about the rest of the financing. There is no dispute that Project Verte covered its operating

expenses by issuing “capital call notices” to the AJ Group and TNJ approximately every two

weeks. Def. 56.1 ¶ 10; Pl. Counter 56.1 ¶ 10. There is also no dispute that the AJ Group provided

funding pursuant to the capital call notices, while TNJ either “stated that it would not fund,” or did

not have the money to fund. Def. 56.1 ¶¶ 11, 12; Pl. Counter 56.1 ¶¶ 11, 12. However, Kahlon

avers that TNJ “directly paid various third parties,” the AJ Group “did not always pay vendors who

were listed on capital call notices,” and Jossef Kahlon negotiated a refund that “should have been

credited” towards TNJ’s capital contributions. Pl. Counter 56.1 ¶¶ 11, 12.

       The AJ Group appointed Gol and Chaluts to the Board of Project Verte. Def. 56.1 ¶ 15; Pl.

Counter 56.1 ¶ 15. TNJ initially appointed Julian Kahlon as well as Yafit Lev-Aretz, whom Kahlon

describes as the only “independent” director because she was the only member of the board who

was not a shareholder. Def. 56.1 ¶¶ 15, 20; Pl. Counter 56.1 ¶¶ 15, 20, 23(d). Julian Kahlon later

resigned from the Board, and TNJ appointed his father Jossef Kahlon as Julian’s replacement. See

Def. 56.1 ¶¶ 21; Pl. Counter 56.1 ¶¶ 4, 21.




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       On February 20, 2020, Project Verte’s Board held a meeting, although it seems Jossef

Kahlon was not present. Def. 56.1 ¶ 23; Pl. Counter 56.1 ¶ 23; see Pl. Counter 56.1 ¶ 25. Gol

informed the Board that Project Verte was out of cash, the Line of Credit Agreements had expired,

and the “stockholders were no longer willing to continue” funding Project Verte in the manner it

had been operating. See Def. 56.1 ¶¶ 23, 24; Pl. Counter 56.1 ¶¶ 23, 24. Kahlon adds that Aretz

“insisted” that, without Jossef Kahlon present, the Board could not hold a vote on Gol’s proposal

for emergency financing, the convertible notes at the heart of this case. Pl. Counter 56.1 ¶ 25.

   B. The Convertible Notes

       On February 24, 2020, the Board met again to discuss the financial situation of Project

Verte. Def. 56.1 ¶ 26; Pl. Counter 56.1 ¶ 26. Gol proposed “an emergency bridge loan of up to

$5,000,000 that would be offered pro rata to all Initial Stockholders of the Company by way of a

convertible note.” Def. 56.1 ¶ 26; Pl. Counter 56.1 ¶ 26. Convertible notes are a form of debt-

financing that give the note-holders equity in the company. The Board met again over the next

two days and, on February 26, 2020, voted to approve the convertible notes, although Jossef

Kahlon left before the vote. Def. 56.1 ¶¶ 26–28; Pl. Counter 56.1 ¶¶ 26–28. According to Kahlon,

Jossef Kahlon was “concerned” about the “dilution of TNJ’s equity in Project Verte.” Pl. Counter

56.1 ¶ 28.

       On February 27, 2020, a capital call notice for approximately $905,000 issued. Def. 56.1

¶ 29; Pl. Counter 56.1 ¶ 29. It included a request for funding of the payroll and rent obligations

that Project Verte imminently had to pay. Def. 56.1 ¶¶ 31, 32; Pl. Counter 56.1 ¶¶ 31, 32. “Once

the board approved issuance of the convertible notes, Mr. Chaluts and Ms. Gol, through their

entities, funded $603,363.50 of the February 27, 2020 capital call pursuant to the convertible

notes.” Def. 56.1 ¶ 34; Pl. Counter 56.1 ¶ 34. Project Verte offers evidence that the AJ Group



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funded the capital call “even though the convertible notes had not been executed” by Julian Kahlon

because Gol and Chaluts “believed that Plaintiff would execute the notes shortly” and they “wanted

to ensure that Project Verte’s payroll and rent obligations were met.” Def. 56.1 ¶ 35 [ECF No. 90

(“Gol Decl.”) ¶ 41].

       The same day, February 27, 2020, Sara Rubenstein, the corporate secretary of Project Verte,

sent the convertible notes to Kahlon “to execute in his capacity as CEO of Project Verte.” Def.

56.1 ¶ 33; Pl. Counter 56.1 ¶ 33. Kahlon offers evidence that, although she was the corporate

secretary, Rubenstein also provided legal advice to Project Verte “on an ad hoc basis” and that she

was simultaneously serving as general counsel for a separate company owned by Gol and Chaluts,

where she reported to Gol and Chaluts. See Pl. Counter 56.1 ¶ 33 [ECF No. 105-24 (“Rubenstein

Dep.”) at 28]. In addition to Rubenstein’s email instructing Kahlon to sign the convertible notes,

Kahlon received a series of communications from outside counsel for Project Verte, Andrew Hulsh,

instructing him to sign the notes. Def. 56.1 ¶ 36; Pl. Counter 56.1 ¶ 36.

       Project Verte argues that Kahlon “refused” to carry out the Board’s instruction to execute

the convertible notes [ECF No. 81 (“Def. MSJ”) at 22]. See Def. 56.1 ¶ 41. Kahlon disputes this

characterization and offers evidence that he had reservations about the reasonableness of the

Board’s instruction. He offers evidence that Project Verte “had previously decided to hire Ernst &

Young to conduct a financial audit for the purpose of raising funds” but, “as of the end of 2019,”

that audit “was not completed; thus, Project Verte did not have certified financials” on which to

base Gol’s proposal for the emergency financing. Pl. Counter 56.1 ¶ 23(a) [ECF No. 105-4 (“Gol

Dep.”) at 281]. Yet the “convertible notes referenced a $50,000,000 valuation” for Project Verte

“based on discussions at three board meetings.” Pl. Counter 56.1 ¶ 26; Gol Dep. at 381–82.




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       On February 28, 2020, Kahlon wrote to Hulsh, saying:

       Let me understand something. You are telling me to sign documents that I have just
       received, just because you’re telling me that they’re okay to sign?

       Isn’t it the company’s right to have a chance to raise funds on better terms?

       Andrew, as the CEO of Project Verte, I’m asking you to withhold from discussing
       these matters with anyone within or outside of the company until I fully understand
       what it is that I am signing. Now please, help me understand. The AJ Group is
       treating Project Verte as if I/Project Verte will not sign the documents, they will not
       fund and close the business and if I/Project Verte will sign they will fund. Just to
       make a couple of hundred thousand dollars and maybe get some equity. It’s clear
       that there is money to fund.

       I’m not your rubber stamp and you will respect me as I have respected you. Today’s
       incident opened my eyes. I had asked Sara 3 times for all of Project Verte’s
       documentation. I have them, yes, but I want to make sure that the documents are all
       aligned. Especially with all the amendments and agreements that had gone back
       and forward. I WAS IGNORED. Due to my latest findings regarding Sara, the facts
       are: 1. She is not Project Verte’s general counsel, although she led me to believe
       that she was. 2. She is the in-house counsel for the AJ Group, which poses a massive
       conflict of interest. 3. She is Project Verte’s secretary, and certainly not acting like
       one. To think that she is in charge of all the documentation with this obvious conflict
       of interest keeps me up at night.

Pl. Counter 56.1 ¶ 36; Davis Decl. ¶ 27, Ex. 26.

       Over the course of several days, “Hulsh reiterated the Board’s instruction that [Kahlon]

sign the convertible notes and communicated to [Kahlon] that he was obligated to do so.” Def.

56.1 ¶ 36; Pl. Counter 56.1 ¶ 36. Kahlon offers evidence that he responded, “I would love to sign

if I knew what I was signing and had all the details.” Pl. Counter 56.1 ¶ 37; Davis Decl., ¶ 27, Ex.

26. Kahlon went on to say that he had not received information and paperwork he had requested

and that it was his “responsibility to know what [he was] signing.” Id.

       On February 29, 2020, Hulsh admonished Kahlon, “As both Sara and I indicated, the

execution of these documents is a critical matter for Project Verte, the failure of which may result

in the Company’s inability to discharge its many obligations, including current payroll.” Def.



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56.1 ¶ 38; Pl. Counter 56.1 ¶ 38 (emphasis in the original). Kahlon did not sign the notes. Def.

56.1 ¶ 41; Pl. Counter 56.1 ¶ 41. On March 3, 2020, the Board “authorized another officer or

director to sign the convertible notes.” Def. 56.1 ¶ 43; Pl. Counter 56.1 ¶ 43. On March 5, 2020,

the Board convened, without Jossef Kahlon present, and voted to terminate Julian Kahlon for cause

“due to his failure to follow the Board’s directives” with respect to the convertible notes. Def.

56.1 ¶¶ 44, 46, 48; Pl. Counter 56.1 ¶¶ 42–46. Outside counsel to Project Verte issued a termination

notice to Kahlon the same day. Def. 56.1 ¶ 47; Pl. Counter 56.1 ¶ 45. The Termination Notice

cites a section of the agreement governing Kahlon’s employment as CEO [ECF No. 1-1

(“Employment Agreement”)] which states that Project Verte may terminate him for cause based

on a “repeated or substantial refusal, failure, or inability to perform . . . his duties.” Def. 56.1 ¶

49; Pl. Counter 56.1 ¶ 47; Employment Agreement § 6.9.1(b).

   C. The Employment Agreement

       The parties agree that the Employment Agreement governed the relationship between

Kahlon, as CEO, and Project Verte, along with the company’s Amended and Restated Bylaws. See

Def. 56.1 ¶¶ 16, 19; Pl. Counter 56.1 ¶¶ 16, 19; Pl. 56.1 ¶¶ 4, 5; Def. Counter 56.1 ¶¶ 4, 5. Under

the heading “Title,” section 3.1 of the Employment Agreement provides that Kahlon “shall serve

as the Chief Executive Officer” and “shall report directly to, and be subject to the direction of, the

Board of Directors.” Employment Agreement § 3.1; Def. 56.1 ¶ 17; Pl. Counter 56.1 ¶ 17.

Similarly, the Bylaws state that the CEO “shall see that all orders and resolutions of the Board of

Directors are carried into effect” [ECF No. 90-1 (“Bylaws”) § 5.8].

       Under the heading, “Duties, Responsibility and Authority,” section 3.2 of the Employment

Agreement provides that Kahlon “shall have such responsibilities, duties and authority as are

customarily incident to his position as Chief Executive Officer and as may reasonably be assigned



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to him by the Board from time to time.” Employment Agreement § 3.2 (emphasis added); Def.

56.1 ¶ 18; Pl. Counter 56.1 ¶ 18. Section 3.2 further provides that Kahlon “shall have such

authority as is commensurate with the position” of CEO. Employment Agreement § 3.2. “Without

limiting the foregoing” statement of Kahlon’s authority, the Employment Agreement then provides

an enumerated list of decisions the CEO has authority to make “without further Board approval,

once the annual budget has been approved by the Board.” Id. The list includes, among other

things, the authority to “enter into, amend in any material respect, waive or terminate any contract

(other than a Related Party Agreement) having a value up to $1,000,000 and in accordance with

the approved budgets,” id. § 3.2.3, and to settle lawsuits involving less than $25,000, id. § 3.2.7.

A “Related Party Agreement” is defined to include any agreement or arrangement between Project

Verte and any stockholder of Project Verte. Id. § 3.2.

       The Employment Agreement provides that Kahlon’s base salary as CEO was $140,000 per

year. Employment Agreement § 5.1; Def. 56.1 ¶ 16; Pl. Counter 56.1 ¶ 16; Pl. 56.1 ¶ 9; Def.

Counter 56.1 ¶ 9. It describes other kinds of compensation, such as bonuses, and benefits. See

Employment Agreement § 5.

       The Employment Agreement also governs termination. It provides that “[e]ither party may

terminate the Executive’s employment with the Company at any time for any reason” on 30 days’

notice. Employment Agreement § 6. However, such notice is not required if “the Executive’s

employment is terminated by the Company for ‘Cause’ (subject to the Executive’s ability to cure

the conduct giving rise to such termination for Cause, if and to the extent permitted under this

Agreement).” Id. Termination for cause also results in the loss of certain compensation and

benefits. See id. “Cause” is defined to include “the Executive’s repeated or substantial refusal,

failure, or inability to perform . . . his duties.” Employment Agreement § 6.9.1(b).



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   D. Procedural History

       Kahlon initiated this action in May 2020 by filing a complaint, with the Employment

Agreement and his notice of termination attached [ECF Nos. 1 (“Cmpl.”), 1-1, 1-2]. The

Complaint asserts as its first cause of action “breaches of the Employment Agreement” based on,

among other allegations, the failure of Project Verte to “provide the required thirty (30) day cure

period . . . prior to terminating Kahlon” and its refusal to “provide compensation to Kahlon as

required under his Employment Agreement upon termination.” Cmpl. ¶ 64; see id. ¶¶ 60–67.

Second, the Complaint asserts claims under the New York Labor Law for withheld and deducted

wages. Cmpl. ¶¶ 68–75. Third, it asserts a claim for a declaratory judgment stating that Kahlon

“did not engage in any activity that warranted terminating him for cause” and that he is, therefore,

entitled to certain compensation and benefits under Section 6.1 of the Employment Agreement.

Cmpl. ¶¶ 76–80. Fourth, the Complaint asserts a claim for violation of the duty of good faith and

fair dealing. Cmpl. ¶¶ 81–85. Fifth, it asserts a claim based on the alleged failure of Project Verte

to provide Kahlon with notice of the availability of continued health benefits under the

Consolidated Omnibus Budget Reconciliation Act of 1985 (“COBRA”), 29 U.S.C. §§ 1161 et seq.

Cmpl. ¶¶ 86–90.

       Project Verte filed an answer and counterclaim, which it later amended [ECF Nos. 14, 21

(“AAC”)]. Project Verte asserts that Kahlon breached the Employment Agreement. AAC ¶¶ 79–

85. Specifically, it alleges that Kahlon never submitted a budget for Board approval and, therefore,

all of Kahlon’s actions on behalf of Project Verte were “unauthorized” under the Employment

Agreement. AAC ¶¶ 81, 82. For example, Project Verte alleges that Kahlon improperly disclosed

confidential information to Geodis Logistics LLC, a logistical services company that Project Verte

had retained, and Geodis then sued Project Verte. AAC ¶¶ 10–12. Project Verte further alleges



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that, after the suit was filed, Kahlon, without authorization from the Board, sent his father Jossef

Kahlon to a meeting with the CEO of Geodis that “severely hindered the settlement discussions.”

AAC ¶ 13. Project Verte also alleges that Kahlon breached the Employment Agreement by

entering into a Related Party Agreement without Board approval when Kahlon hired his father,

who was also a shareholder. AAC ¶¶ 41–48. Project Verte offers a number of other allegations in

support of its counterclaim.

       Project Verte filed a motion for summary judgment to dispose of all of Kahlon’s claims

[ECF Nos. 80, 81 (“Def. MSJ”), 82 (“Def. 56.1”), 83, 85, 90]. Kahlon filed a brief opposing that

motion with respect to his claims for breach of the Employment Agreement and violations of the

New York Labor Law, “conced[ing] dismissal” of his claims for declaratory judgment and

violation of COBRA notice requirements, and effectively conceding dismissal of his claim for

breach of the duty of good faith and fair dealing [ECF No. 101 (“Pl. Opp.”) at 24 n.1]. Project

Verte filed a reply in further support of its motion [ECF No. 103].

       Kahlon also filed a cross-motion for summary judgment to dispose of Project Verte’s

counterclaim for breach of the Employment Agreement [ECF Nos. 86, 87 (“Pl. MSJ”), 91 (“Pl.

56.1”), 102]. Project Verte opposes that motion [ECF No. 92 (“Def. Opp.”), 93, 94, 95, 96 (“Def.

Counter 56.1”)]. Kahlon declined to file a reply [ECF No. 102].

                                    II.    LEGAL STANDARD

       Under Rule 56(a) of the Federal Rules of Civil Procedure, summary judgment should be

granted when “the movant shows that there is no genuine dispute as to any material fact and the

movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a); Ya-Chen Chen v. City

Univ. of New York, 805 F.3d 59, 69 (2d Cir. 2015). The moving party bears the initial burden of

demonstrating the absence of a dispute. See Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986).



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The court “may not make credibility determinations or weigh the evidence.” Jaegly v. Couch, 439

F.3d 149, 151 (2d Cir. 2006). The court “must resolve all ambiguities and draw all permissible

inferences in favor of the non-moving party.” Id. If there is evidence in the record that supports a

reasonable inference in favor of the opposing party, summary judgment is improper. Brooklyn Ctr.

for Indep. of the Disabled v. Metro. Transportation Auth., 11 F.4th 55, 64 (2d Cir. 2021). In a

contract dispute, summary judgment is generally inappropriate unless the contract is “wholly

unambiguous.” Topps Co. v. Cadbury Stani S.A.I.C., 526 F.3d 63, 68 (2d Cir. 2008); see Am. Home

Assur. Co. v. Hapag Lloyd Container Linie, GmbH, 446 F.3d 313, 316 (2d Cir. 2006) (a contract is

ambiguous “if it is capable of more than one meaning when viewed objectively by a reasonably

intelligent person who has examined the context of the entire integrated agreement and who is

cognizant of the customs, practices, usages and terminology as generally understood in the

particular trade or business.”).

                                        III.    DISCUSSION

   A. Project Verte Is Not Entitled to Summary Judgment on
      Kahlon’s Claim for Breach of the Employment Agreement.

       Project Verte is not entitled to summary judgment on Kahlon’s claim for breach of the

employment agreement. Kahlon argues that Project Verte breached the Employment Agreement

because it terminated him without Cause, as defined in the contract, without 30 days’ notice,

without compensation to which he is entitled, and without an opportunity to cure any conduct that

would support his termination for Cause. Project Verte argues that it properly terminated Kahlon

for Cause. The Court cannot conclude that there is no genuine dispute as to any material fact and

Project Verte is entitled to judgment as a matter of law.

       The Board voted to terminate Kahlon for cause on the ground that he “refused” to sign the

convertible notes that the Board had approved and instructed Kahlon to sign. Def. 56.1 ¶¶ 44, 46,


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48; Pl. Counter 56.1 ¶¶ 42–46; Termination Notice at 1. The Termination Notice cited section 3.1

of the Employment Agreement and section 5.8 of the Bylaws, which respectively state that, as

CEO, Kahlon was “subject to the direction of” the Board and required to “see that all orders and

resolutions of the Board are carried into effect.” Termination Notice at 2. The Termination Notice

also cited section 6.9.1(b) of the Employment Agreement, which states that “the Executive’s

repeated or substantial refusal, failure, or inability to perform . . . his duties” supports termination

for “Cause.” Termination Notice at 1.

       As an initial matter, Kahlon offers evidence that raises a dispute whether he “refused” to

sign the convertible notes. Kahlon offers evidence that he was open to signing the notes if he

received information that he needed to assure himself him that he could sign the notes consistent

with his obligations to the company and his “responsibility to know what [he was] signing.” Pl.

Counter 56.1 ¶ 37; Davis Decl., ¶ 27, Ex. 26 (saying, “I would love to sign if I knew what I was

signing and had all the details,” and asserting that he had not received information and paperwork

he had requested). To be sure, Kahlon did not sign the notes between February 27, 2020, when

Rubenstein first instructed him to do so, and March 3, 2020, when the Board authorized someone

else to sign them instead. Def. 56.1 ¶¶ 41, 43; Pl. Counter 56.1 ¶¶ 41, 43. But Kahlon denies that

his conduct during that relatively short timeframe represented a “refusal” to sign the notes. The

Court cannot make credibility determinations, or weigh the evidence, and it must draw all

reasonable inferences in favor of Kahlon, the party opposing summary judgment. See Jaegly, 439

F.3d at 151. As such, the Court cannot simply reject Kahlon’s protestation, supported by some

evidence, that he was taking steps to understand what his duties as CEO required of him, in contrast

with refusing to perform those duties.




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       Moreover, the Employment Agreement suggests that Kahlon was duty-bound to honor only

the reasonable instructions of the Board. Employment Agreement § 3.2 (providing that the CEO’s

“duties” include tasks that “may reasonably be assigned to him by the Board from time to time”)

(emphasis added); Def. 56.1 ¶ 18; Pl. Counter 56.1 ¶ 18. Project Verte maintains that, under the

Employment Agreement, as well as the Bylaws, Kahlon was required to carry out any and every

instruction of the Board, without regard for the nature of the instruction. But the Employment

Agreement is not “wholly unambiguous” on that point. Topps, 526 F.3d at 68; see Am. Home

Assur. Co., 446 F.3d at 316. Indeed, such an agreement might not be enforceable. See 5 Williston

on Contracts § 12:1 (4th ed.).

       Kahlon has offered evidence that he had reservations about the reasonableness of the

Board’s instruction that he sign the notes. See Pl. Counter 56.1 ¶ 36; Davis Decl. ¶ 27, Ex. 26.

For example, Kahlon told Hulsh that he was concerned about a conflict of interest. Id. Kahlon

also offers some evidence that he had reason to question the instructions he received. In particular,

Kahlon offers evidence that the convertible notes referenced a valuation of Project Verte that was

not based on any “certified financials.” Pl. Counter 56.1 ¶ 23(a); see Gol Dep. at 281, 381–82.

Moreover, he offers evidence that Hulsh admonished Kahlon that he was obligated to sign the

notes without understanding what he was signing, let alone agreeing that he was acting in the best

interest of Project Verte, because the company would not be able to meet its payroll and rent

obligations unless Kahlon signed the notes. Def. 56.1 ¶ 38; Pl. Counter 56.1 ¶ 38. However, it is

undisputed that, when Hulsh issued that admonition, the AJ Group had already provided the

funding “to ensure that Project Verte’s payroll and rent obligations were met.” Def. 56.1 ¶¶ 34,

35; Pl. Counter 56.1 ¶¶ 34, 35.




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       That the AJ Group provided the funding before the convertible notes were executed also

bears on Kahlon’s argument that Project Verte breached the Employment Agreement because it did

not give him an opportunity to cure any conduct that would support his termination for Cause.

Project Verte argues that Kahlon was not entitled to notice and an opportunity to cure because of

the time-sensitive nature of the emergency financing proposal. But, in the light of the timeline set

forth above, there is a triable dispute whether Kahlon had “ability to cure” his conduct and should

have been “permitted” to do so. Employment Agreement § 6. Because there is evidence in the

record that supports reasonable inferences in favor of Kahlon, it would be inappropriate to grant

Project Verte summary judgment on Kahlon’s claim for breach of the Employment Agreement.

Brooklyn Ctr. for Indep. of the Disabled, 11 F.4th at 64.

   B. Project Verte Is Entitled to Summary Judgment on Kahlon’s COBRA Claim.

       The Complaint asserts a claim against Project Verte based on its alleged failure to provide

Kahlon with notice of the availability, after his termination, of continued health insurance coverage

under COBRA. Cmpl. ¶¶ 86–90. However, Kahlon now “concedes dismissal” of that claim. Pl.

Opp. at 24 n.1. There is no dispute that the Termination Notice, which Kahlon attached to the

Complaint, stated that he would “receive notice” of “any rights to continuation of benefits under

COBRA.” Def. 56.1 ¶ 51; Pl. Counter 56.1 ¶ 48. More to the point, there is no dispute that such

notice was later sent to Kahlon at his residence. See Def. 56.1 ¶¶ 52–55; Pl. Counter 56.1 ¶¶ 49–

51. Accordingly, there is no material dispute, and Project Verte is entitled to judgment as a matter

of law on Kahlon’s COBRA claim.

   C. Kahlon’s Declaratory Judgment Claim Is Dismissed as Duplicative.

       Kahlon likewise “concedes dismissal” of his claim for a declaratory judgment. Pl. Opp. at

24 n.1. The Complaint seeks a declaratory judgment stating that Kahlon “did not engage in any

activity that warranted terminating him for cause” and, therefore, he has a right to compensation
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and benefits under the Employment Agreement. Cmpl. ¶¶ 76–80. The Court agrees with both

parties that the claim should be dismissed.

       The decision whether to award relief under the Declaratory Judgment Act (“DJA”) lies

within the discretion of the district court. 28 U.S.C. § 2201(a) (stating that the court “may declare”

the rights of the party seeking a declaratory judgment); Duane Reade, Inc. v. St. Paul Fire &

Marine Ins. Co., 411 F.3d 384, 389 (2d Cir. 2005). In exercising that discretion, a district court

considers “(1) whether the judgment will serve a useful purpose in clarifying or settling the legal

issues involved; and (2) whether a judgment would finalize the controversy and offer relief from

uncertainty.” Duane Reade, 411 F.3d at 389. Kahlon’s claim for breach of the Employment

Agreement “‘will necessarily settle the issues for which the declaratory judgment is sought,’

meaning that the DJA claim ‘will serve no useful purpose’ and will not ‘serve to offer relief from

uncertainty.’” City of Perry, Iowa v. Procter & Gamble Co., 188 F. Supp. 3d 276, 286 (S.D.N.Y.

2016) (quoting Amusement Indus., Inc. v. Stern, 693 F. Supp. 2d 301, 311–12 (S.D.N.Y. 2010));

see id. (“Courts generally reject a DJA claim when other claims in the suit will resolve the same

issues.”). Accordingly, the Court exercises its discretion and dismisses Kahlon’s claim for a

declaratory judgment as duplicative.

   D. Kahlon’s Claim for Breach of the Duty of Good
      Faith and Fair Dealing Is Dismissed as Duplicative.

       The Complaint asserts, as its “fourth cause of action,” a claim for “breaches of the duty of

good faith and fair dealing.” Cmpl. ¶¶ 81–85 (emphasis omitted). Project Verte argues that the

Court should dismiss this claim as duplicative of Kahlon’s claim for breach of the Employment

Agreement because both claims are based on the same factual allegations. Def. MSJ at 1, 12–13.

Kahlon purports to disagree, but he concedes, as he must, that he cannot maintain “an independent”

claim for breach of the duty of good faith and fair dealing. Pl. Opp. at 24.


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       It is well established that “New York law does not recognize a separate cause of action for

breach of the implied covenant of good faith and fair dealing when a breach of contract claim,

based upon the same facts, is also pled.” ARI & Co. v. Regent Int’l Corp., 273 F. Supp. 2d 518,

522 (S.D.N.Y. 2003) (alteration omitted) (quoting Harris v. Provident Life & Accident Ins. Co.,

310 F.3d 73, 81 (2d Cir. 2002)). Kahlon does not argue that he has a claim for breach of the duty

of good faith and fair dealing that arises out of different facts from his claim for breach of the

Employment Agreement. See Pl. Opp. at 23–24. Rather, he confusingly asserts that his claim for

breach of the duty of good faith and fair dealing, “while pled separately,” merely reflects that his

“theory of [his] breach of contract claim” is “predicated on” the “bad faith” of Project Verte “in

interpreting . . . Plaintiff’s Employment Agreement.” Pl. Opp. at 23. Kahlon then asserts that his

“contract claims predicated on [this theory] should not be dismissed. Pl. at 23–24. As explained

above, the Court agrees that Kahlon’s claim for breach of the Employment Agreement survives

summary judgment. However, his separately-pled claim for breach of the duty of good faith and

fair dealing, based on the exact same facts, must be dismissed. See ARI & Co., 273 F. Supp. 2d at

522; see also, e.g., Bear, Stearns Funding, Inc. v. Interface Grp.-Nevada, Inc., 361 F. Supp. 2d

283, 298 (S.D.N.Y. 2005).

   E. Kahlon’s Claims under NYLL Sections 193 and 198 Are Dismissed.

       Kahlon asserts claims for violations of New York Labor Law Sections 193 and 198 based

on the failure of Project Verte to pay wages to which Kahlon believes he is entitled under the

Employment Agreement. As an executive who earned more than $900 per week, Kahlon cannot

recover under Section 198. See N.Y. Lab. L. § 198-c(3). Kahlon also cannot recover under Section

193, which prohibits unlawful “deductions” from wages, in contrast with a failure to pay wages

altogether. N.Y. Lab. L. § 193. See Dreni v. PrinterOn Am. Corp., 486 F. Supp. 3d 712, 728



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(S.D.N.Y. 2020) (“The law in this district is clear that a failure to pay, or a withholding, of wages

does not constitute a “deduction” within the meaning of § 193.”).

   F. Kahlon Is Not Entitled to Summary Judgment on the
      Counterclaim for Breach of the Employment Agreement.

       Kahlon filed a motion seeking summary judgment on Project Verte’s counterclaim that

Kahlon breached the Employment Agreement. However, Kahlon’s argument makes little sense.

He argues that, because he was an at-will employee, there was no employment contract for him to

breach. Pl. MSJ at 4 (“Project Verte cannot sustain a claim for breach of contract because Mr.

Kahlon was an at- will employee. An at-will employment arrangement is not contractual, does not

create an employment contract, and cannot give rise to a claim of breach of contract.”). Project

Verte pointed out that that position is impossible to square with Kahlon’s own claim for breach of

the Employment Agreement. Def. Opp. at 1–2. Kahlon then declined to file a reply. The

Employment Agreement, which Kahlon attached to the Complaint and is part of the record in this

case, is a contract that binds both parties. As such, Project Verte can assert a claim for breach of

contract under the Employment Agreement.

       Project Verte argues that all of Kahlon’s actions on behalf of Project Verte were

“unauthorized,” and breached the Employment Agreement, because the Board never approved an

annual budget while Kahlon was CEO.           Def. Counter 56.1 ¶ 15 (“Plaintiff’s Employment

Agreement authorized him to take actions in his capacity as CEO only after the board of directors

had approved an annual budget, which was not the case during Plaintiff’s tenure as CEO.”). This

argument is unpersuasive. The Employment Agreement provides that Kahlon “shall have such

authority as is commensurate with the position” of CEO and then provides an enumerated list of

decisions the CEO has authority to make “without further Board approval, once the annual budget

has been approved by the Board.” Employment Agreement § 3.2. The Employment Agreement


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specifies that the enumerated list does not “limit[] the foregoing,” general statement of the CEO’s

authority. Id. Thus, Kahlon had authority “commensurate with [his] position” as CEO, even in

the absence of an approved budget. Employment Agreement § 3.2.

       Nevertheless, Kahlon has not met his burden to show that there are no material disputes

and Kahlon is entitled to judgment as a matter of law. For example, Project Verte alleges that

Kahlon breached the Employment Agreement when he hired his father, Jossef Kahlon, who was

also a shareholder, without Board approval. AAC ¶¶ 41–48. Kahlon has not demonstrated the

absence of a fact dispute, and the Employment Agreement is at least ambiguous as to whether

Kahlon could, in any circumstances, enter into a Related Party Agreement without authorization

from the Board. See Celotex, 477 U.S. at 322–23 (the moving party bears the initial burden to

show the absence of a dispute); Topps, 526 F.3d at 68 (summary judgment is generally

inappropriate in a contract dispute unless the contract is wholly unambiguous); Employment

Agreement § 3.2.3 (stating that the CEO’s authority to enter into contracts without Board

authorization, once the Board has approved an annual budget, does not extend to a Related Party

Agreement). Kahlon has similarly failed to meet his initial burden with respect to other allegations

in the AAC. Accordingly, the Court denies Kahlon’s motion for summary judgment on Project

Verte’s counterclaim.

   G. Sealing Is Not Warranted.

       Project Verte asks the Court to maintain under seal two sets of email exchanges between

Jane Gol and Randy Tucker, the former CEO of Geodis America [ECF Nos. 77 (“Sealing Mot.”),

78, 79]. The emails were submitted to the Court in connection with the motion for summary

judgment on Project Verte’s counterclaim that Kahlon breached the Employment Agreement in

part by causing Geodis to sue Project Verte. Project Verte argues that the emails “contain



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confidential settlement communications,” and “the Second Circuit strongly endorses the

confidentiality” of settlement documents. Sealing Mot. at 1, 2 (quoting Schoeps v. Museum of

Mod. Art, 603 F. Supp. 2d 673, 676 (S.D.N.Y. 2009)). This argument fails because the emails do

not contain settlement communications. According to Project Verte, Geodis filed a lawsuit against

Project Verte on “November 7, 2019.” AAC ¶ 12. The emails that Project Verte seeks to seal,

however, are from September 2019, which was before any lawsuit was filed. Based on the Court’s

own review, the emails reflect business negotiations, not settlement discussions, and they do not

contain sensitive information that outweighs the “strong presumption of access” to judicial

documents. Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110, 121 (2d Cir. 2006). The motion

to seal the email exchanges is denied.

                                         IV.   CONCLUSION

       For the reasons set forth above, Defendant’s motion for summary judgment [ECF No. 80]

is DENIED with respect to Plaintiff’s claim for breach of the Employment Agreement and

GRANTED with respect to all other claims. Plaintiff’s motion for summary judgment on

Defendant’s counterclaim [ECF No. 86] is DENIED. Defendant’s motion to seal [ECF Nos. 77,

78, 79] is DENIED. The Clerk of Court is respectfully directed to terminate the motions pending

at docket entries 77, 78, 79, 80, and 86.

SO ORDERED.

                                                    _________________________________
Date: March 23, 2022                                MARY KAY VYSKOCIL
      New York, NY                                  United States District Judge




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